Case 1:17-cv-04179-DLC Document 241 Filed 10/09/19 Page 1 of 3

Case 1:17-cv-04179-DLC Document 240-1 Filed 19/09149-—Page. 1 Of Boe
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UNITED STATES DISTRICT COUR pane a neue
SOUTHERN DISTRICT OF NEW YORKDATE FILED: 10\ 4/2019
UNITED STATES SECURITIES AND EXCHANGE 17-cv-4179-DLC
COMMISSION,
Plaintiff,
ECF CASE
- against -

ALPINE SECURITIES CORPORATION,

Defendant.

 

 

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~+~REVISED-PROPOSED} PERMANENT INJUNCTION AND FINAL JUDGMENT
AGAINST ALPINE SECURITIES CORPORATION

The Court, having entered Opinions and Orders finding that Alpine Securities
Corporation (“Defendant”) violated Section 17 of the Securities Exchange Act of 1934 (the
“Exchange Act”) [15 U.S.C. § 78q{a)] and Rule 17a-8 thereunder [17 C.F.R. § 240.17a-8], and
on September 12, 2019, having ordered that a permanent injunction will be entered against
Defendant and that Defendant shall pay a civil penalty in the amount of $12,000,000:

L.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
permanently restrained and enjoined from violating Section 17 of the Exchange Act [15 U.S.C. §
78q(a)], and Rule 17a-8 promulgated thereunder [17 C.F.R. § 240.17a-8], by acting as a
registered broker or dealer who is subject to the requirements of the Currency and Foreign
Transactions Reporting Act of 1970 and failing to comply with the reporting, recordkeeping and
record retention requirements of chapter X of title 31 of the Code of Federal Regulations.
Defendant is permanently restrained and enjoined from failing to, where chapter X of title 31 of

the Code of Federal Regulations and § 240.17a-4 require the same records or reports to be

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Case 1:17-cv-04179-DLC Document 241 Filed 10/09/19 Page 2 of 3
Case 1:17-cv-04179-DLC Document 240-1 Filed 10/09/19 Page 2 of 3

preserved for different periods of time, preserving such records or reports for the longer period of
time.

IT IS FURTHER ORDERED, ADFUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

i.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay a
civil penalty in the amount of $12,000,000 to the Securities and Exchange Commission pursuant
to Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)]. Defendant shall make this payment
within 30 days after entry of this Final Judgment.

Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly
from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

 

cashier’s check, or United States postal money order payable to the Securities and Exchange
Commission, which shall be delivered or mailed to

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Alpine Securities Corporation as a defendant in this action; and specifying that

payment is made pursuant to this Final Judgment.
Case 1:17-cv-04179-DLC Document 241 Filed 10/09/19 Page 3 of 3
Case 1:17-cv-04179-DLC Document 240-1 Filed 10/09/19 Page 3 of 3

Defendant shall simultaneously transmit photocopies of evidence of payment and case
identifying information to the Commission’s counsel in this action. By making this payment,
Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant
to this Final Judgment to the United States Treasury. Defendant shall pay post-judgment interest
on any delinquent amounts pursuant to 28 USC § 1961.

HI.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that to the extent that the
Commission alleged vioiations of Exchange Act Section 17(a) [15 U.S.C. § 78q(a)] and Rule
17a-8 [17 C.F.R, § 240.17a-8] by the Defendant in this action for which it did not obtain
summary judgment and on which it elected not to proceed to trial, the Commission’s claims as to

those alleged violations are dismissed with prejudice.

Dated: fi. Yel os AAG
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UNITED STATES DISTRICT JUDGE
